Case 8:19-mc-00005-AG-DFM Document 26-4 Filed 10/12/18 Page 1 of 4 Page ID #:610




                                 Exhibit D
Case 8:19-mc-00005-AG-DFM Document 26-4 Filed 10/12/18 Page 2 of 4 Page ID #:611




                                  .CjjrviiWstiMatwW
Case 8:19-mc-00005-AG-DFM Document 26-4 Filed 10/12/18 Page 3 of 4 Page ID #:612

        a-^.




         \xos
        K, p;
        Iioi




                iwcc

                                  msmmm




               icy

                                                       )ii.
                io\




           keptics can come from a variety of places. One place I
          1 is among short sellers, who are betting that a com{ ' ' ’




                       111

                                                                                   ■iM

                                            investc



                             mmtm0Mimemm0mam
                             mrnHmmmsismmmmmmrn
                              iliSIlliillfMlIillllSl
       Case 8:19-mc-00005-AG-DFM Document 26-4 Filed 10/12/18 Page 4 of 4 Page ID #:613




                       or a governiiient regulatoi/—and no matter whether you
                       agree with them or not—it s lielpful to know what the
                       opinions are, from all sides.
                           By paying close attention to the skeptics, a savvy
                       investor often can spot signs of possible fraud that will
                       allow him or her to get out before much damage is done.
                                                                                     "■iai




                       government officials.
                           When executives blame short-sellers for a decline in
                      '-hare price, it’s a pretty good sign that something else is




tmmtmmmmmmmmmmmmmmaktmmmam:: ■: ^
